                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                    3:01cr184

UNITED STATES OF AMERICA                  )
                                          )
            Plaintiff,                    )
                                          )
      v.                                  )                                ORDER
                                          )
ICABOD JOSEPHUS ALLISON                   )
                                          )
            Defendant.                    )
__________________________________________)

       THE MATTER before the Court is whether the Defendant, Icabod Josephus Allison, is

entitled to a sentence reduction by virtue of Amendment 706 (dealing with crack cocaine) of the

Sentencing Guidelines. The applicable statute authorizes such reduction if the original sentence

was “based on a sentencing range that has been subsequently lowered by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(2).

       The original guideline range for Mr. Allison, with a Total Offense Level of 23 and a

Criminal History of Category VI, was 92 to 115 months, subject to a mandatory minimum

sentence of 120 months. Prior to sentencing, this Court granted the government’s motion for

downward departure under 18 U.S.C. 3553(e), departing from the mandatory minimum to the

original guideline range of 92 to 115 months and imposing a 108 month sentence. Under the

amended guidelines, Mr. Allison’s Total Offense Level would drop from a 23 to a 21. This

reduced level would yield a guideline range of 77 to 96 months.

       The government argues that Mr. Allison’s sentence was determined by a deviation from

the mandatory minimum, not by the sentencing guidelines. However, the government’s motion

for downward departure permitted this Court to impose a sentence below the mandatory



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minimum. Therefore, the mandatory minimum no longer constituted the bottom of the guideline

range and in determining the appropriate sentence reduction below the mandatory minimum, this

Court took into account, among other factors, the actual guideline range which would have been

applicable but for the mandatory minimum. Mr. Allison’s actual sentence of 108 months, at least

to some extent, was influenced by and “based [in part] on a sentencing range that has been

subsequently lowered” within the meaning of 18 U.S.C. § 3582(c)(2).

       Based on the amended guideline range, this Court impose an amended sentence that is in

proportion to the current sentence. The Court hereby sentences Mr. Allison to 90 months.

Accordingly, Defendant’s motion to reduce sentence is GRANTED.



       IT IS SO ORDERED.



                                               Signed: August 11, 2008




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